Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 1 of 21 PageID 2778




                                  PX 30                   FTC-MOBE-002670
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 2 of 21 PageID 2779




                                  PX 30                   FTC-MOBE-002671
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 3 of 21 PageID 2780




                                  PX 30                   FTC-MOBE-002672
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 4 of 21 PageID 2781




                                  PX 30                   FTC-MOBE-002673
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 5 of 21 PageID 2782




                                  PX 30                   FTC-MOBE-002674
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 6 of 21 PageID 2783




                                  PX 30                   FTC-MOBE-002675
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 7 of 21 PageID 2784




                                  PX 30                   FTC-MOBE-002676
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 8 of 21 PageID 2785




                                  PX 30                   FTC-MOBE-002677
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 9 of 21 PageID 2786




                                  PX 30                   FTC-MOBE-002678
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 10 of 21 PageID 2787




                                   PX 30                  FTC-MOBE-002679
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 11 of 21 PageID 2788




                                   PX 30                  FTC-MOBE-002680
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 12 of 21 PageID 2789




                                   PX 30                  FTC-MOBE-002681
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 13 of 21 PageID 2790




                                   PX 30                  FTC-MOBE-002682
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 14 of 21 PageID 2791




                                   PX 30                  FTC-MOBE-002683
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 15 of 21 PageID 2792




                                   PX 30                  FTC-MOBE-002684
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 16 of 21 PageID 2793




                                   PX 30                  FTC-MOBE-002685
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 17 of 21 PageID 2794




                                   PX 30                  FTC-MOBE-002686
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 18 of 21 PageID 2795




                                   PX 30                  FTC-MOBE-002687
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 19 of 21 PageID 2796




                                   PX 30                  FTC-MOBE-002688
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 20 of 21 PageID 2797




                                   PX 30                  FTC-MOBE-002689
Case 6:18-cv-00862-RBD-DCI Document 3-56 Filed 06/04/18 Page 21 of 21 PageID 2798




                                   PX 30                  FTC-MOBE-002690
